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The LaW Offices of Diane H. Lee, P.C."c

 

 

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"‘Member of NY and NJ Bars

July 27, 2018

VIA ECF

United States District Court
Southem Distn`ct ofNew York
40 Foley Square, Room 22014
NeW York, NY 10007

Attn: Honorable Paul G. Gardephe

Re: Fitz V Bethel Gourmet Food Corp., et al
(Case No.: 17-cv-08919)

Dear Judge Gardephe:

My firm represents the Defendants in this matter. Unfortunately, the Parties are unable to
agree on one auditor. Therefore, Defendants are proposing their selection, Mr. Bryan
Ban. Attached is CPA Ban’s resume and his estimated hours and his hourly rate for Your
Honor’s review.

Mr. Ban is bilingual in Korean and English, therefore he will be able to communicate

with the Defendants Whose ability to speak English is limited as they are first generation
immigrants We thank Your Honor’s time and assistance in this matter.

/R`e y ubmitted,

§

Diane H. Lee

cc: Martin Restituyo, Esq. (Via ECF)
Plaintiffs’ Counsel

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Bryan Ban CPA

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Bayside, NY 11361
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bryanbancpa@gmail.com

 

 

EDUCATION

Long Island University Long Island, NY
c M. S. in Taxa!ion 1992
State University of New York at New Paltz New Paltz, NY
¢ B. S. in Accounting 1989
EXPERIENCE

Bryan Ban CPA P.C. Bayside, NY
Sole Practitioner 2001- Present
¢ Specializing in representing clients for IRS income tax and State & Local sales tax audit.
Internal Revenue Service Manhattan, NY
Revenue Agem' 1994~2001

o Examining books and records of individual & business tax retums.

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BRYAN BAN CPA PC. anOICe

Date invoice #

7/26/2018 l

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